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 1
                             UNITED STATES DISTRICT COURT
 2
                           SOUTHERN DISTRICT OF CALIFORNIA
 3
 4    UNITED STATES OF AMERICA,                     Case No.: 23mj2700-DDL
 5                              Plaintiff,
                                                    COMPLAINT FOR VIOLATION OF
 6
            V.
 7                                                  Title 21 U.S.C. §§ 841 (a)(l) and 846 -
                                                    Conspiracy to Distribute (Felony)
 8   Alexis Eduardo SEVILLA Mesa ( 1),
     Ricardo CHAVEZ Vazquez (2),
 9   Arturo SOTO Esparza (3 ),
10
                                Defendants.
11
12         The undersigned complainant being duly sworn states:
13
           On or about July 25, 2023, within the Southern District of California, Alexis Eduardo
14
     SEVILLA Mesa, Ricardo CHAVEZ Vazquez, and Arturo SOTO Esparza, did knowingly
15
16 and intentionally conspire with each other and with other persons known and unknown to
17
     distribute a mixture and substance containing a detectable amount of cocaine, a Schedule II
18
     Controlled Substance, into the United States from a place outside thereof, in violation o
19
20 Title 21, United States Code, Sections 84l(a)(l) and 846.
21
           The complainant states that this complaint is based on the attached Statement of Facts
22
     incorporated herein by reference.
23
24
                                                  Special  ent Ishmael Selga
25                                                Homel nd Security Investigations
2 6 Sworn and attested to under oath by telephone, in accordance wthz
                                                                    Fiera
                                                                      ·   Rule of Criminal
27 Procedure4.1,this26thdayofJuly2023.~ / /                                /
28                                               ~~                   ~Vie ✓
                                                  Hon. David D. Leshner
                                                  United States Magistrate Judge
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                                 STATEMENT OF FACTS

 2
            On July 25, 2023, at approximately 11 :23 AM, Alexis Eduardo SEVILLA
 3


 4   Mesa, ("SEVILLA"), a Mexican Citizen, applied for entry into the United States
 5
     from Mexico through the San Ysidro Port of Entry in vehicle lane # 1. SEVILLA
 6

 7   was the driver, sole occupant, and registered owner of a 2012 Honda Civic ("the
 8
     vehicle") bearing Baja California license plates.
 9

10         A CBPO received a computer generated alert on the vehicle, and subsequently
II
     referred the vehicle to secondary for further inspection.
12

13         A CBPO operating the Z-Portal X-Ray machine detected anomalies in the
14
     floor of the vehicle.
15

16
           Further inspection of the vehicle resulted in the discovery of packages
17
     concealed in a non-factory compartment located in the floor of the vehicle.
18

19
           To facilitate further investigation, the packages were left in place and the occupants
20

21
     were not alerted to the fact that officers had found packages concealed in the floor.

22   Investigators decided to follow the vehicle to its intended destination. Because of the
23
     exigencies of the situation and to avoid a longer delay which might cause the driver or any
24

25   co-conspirators to suspect or detect that the packages had been discovered by law
26
     enforcement, investigators installed a GPS tracking device on the vehicle at approximately
27

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                                               1
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     11 :30 AM, so it could leave the San Ysidro Port of Entry and continue to its intended

 2   destination. A federal tracker warrant was immediately initiated and submitted to the
 3
     Honorable David D. Leshner, who subsequently signed and authorized the warrant.
 4

 5         The vehicle was followed away from the San Ysidro Port of Entry and monitored
 6
     via physical surveillance. Investigators observed SEVILLA depart the San Ysidro Port of
 7

 8
     Entry and eventually arrive at a shopping center in Chula Vista, CA. At this location

 9   SEVILLA met with Ricardo CHAVEZ Vazquez, ("CHAVEZ"), who took control of the

     vehicle. CHAVEZ subsequently drove to a residence in Chula Vista, CA, where he and
II

12   Arturo SOTO Esparza, ("SOTO"), were observed unloading the packages from the vehicle.
13
           Investigators made the ·decision to discontinue the cold convoy operation, seize the
14
     vehicle, and arrest SEVILLA, CHAVEZ, and SOTO for conspiracy to possess a controlled
15

16   substance with the intent to distribute. Upon searching the vehicle Special Agents located
17
     21 clear plastic wrapped packages concealed within the vehicle floor. Three of the
18

19   packages had been removed and placed on the seats by CHAVEZ. The packages and the

20
     vehicle were transported to the San Ysidro Port of Entry for further processing. The
21
     vehicle, SEVILLA, CHAVEZ, and SOTO were transported back to the San Ysidro Port of
22

23   Entry for further processing.
24
           SEVILLA, CHAVEZ, and SOTO were placed under arrest at approximately 2:48
25

26   PM.
27

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                                              2
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           A CBPO was assigned to the seizure of the contraband and the vehicle. A total of 21

 2   packages were seized from the vehicle. A presumptive test of the contents within the
 3
     packages yielded a positive result for properties of cocaine, with the total being 26.82
 4

 5   kilograms (59.12 lbs).
 6
           During a post-Miranda interview, SEVILLA admitted that he was going to be
 7

 8
     paid $1,000 USD to smuggle the narcotics into the United States. SEVILLA claimed

 9   to be driving the narcotics to San Diego, California.
10

II         During a post-Miranda interview, CHAVEZ admitted that he was removing
12
     the narcotics from the vehicle, in order for them to be transported to Los Angeles.
13
     CHAVEZ sated he was being paid $2,500 USD to assist in the transportation of the
14

15   narcotics.
16

17
           During a port-Miranda interview, SOTO admitted that he was going to

18   transport the narcotics to Los Angeles, and that he would receive $1,500 USD upon
19
     delivery of the narcotics to Los Angeles.
20

21
           SEVILLA, CHAVEZ, and SOTO were arrested and charged with a violation
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     of Title 21, United States Code, Sections 841(a)(l) and 846, conspiracy to distribute.
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                                                 3
